                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:05CR368


UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )         ORDER
                                               )
ANAND RANADHAR                                 )
                                               )


       THIS MATTER IS BEFORE THE COURT upon defendant’s Waiver of Delays and Request

for Immediate Sentencing [doc. 22] filed on December 14, 2005.

       IT IS HEREBY ORDERED that sentencing is scheduled for Thursday, January 12, 2006,

at 2:00 pm.

       SO ORDERED.




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                     Signed: December 20, 2005




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